                         IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

 UNITED STATES OF AMERICA,                        )
                                                  )
                       Plaintiff,                 )
                                                  )          No. 3:13-CR-145
 v.                                               )
                                                  )
                                                  )
                                                  )          (VARLAN / GUYTON)
 LORENZA JACKSON,                                 )
                                                  )
                       Defendant.                 )


                            REPORT AND RECOMMENDATION

                All pretrial motions in this case have been referred to the undersigned pursuant to

 28 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the

 District Court as may be appropriate. This case came before the Court on August 28, 2014, for a

 scheduled pretrial conference and evidentiary hearing on the Defendant’s Motion to Suppress

 Evidence [Doc. 79]. Assistant United States Attorney Caryn L. Hebets appeared on behalf of the

 Government. Attorney Joseph A. Fanduzz represented the Defendant, who was also present. At

 the conclusion of the testimony, defense counsel asked to file a post-hearing brief with regard to

 the suppression motion. The Court granted that request, and the Defendant filed a post-hearing

 brief [Doc. 90] on September 10, 2014.1 The Court took the matter under advisement the

 following day. After reviewing the parties’ arguments, the evidence presented at the hearing,

 and the relevant legal authorities, the Court recommends that the Defendant’s motion to suppress

 be denied.


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   AUSA Hebets stated that the Government’s position was fully briefed in its response [Doc. 82],
 filed on August 5, 2014. She agreed to advise the Court if she decided to file a reply to the
 Defendant’s post-hearing brief.

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                            I.     POSITIONS OF THE PARTIES

               Defendant Lorenza Jackson is charged [Doc. 7], along with three named

    codefendants, with conspiracy to distribute heroin from September 1, 2011, to October 16,

    2013 (Count One), and with possession of heroin with intent to distribute on September 14,

    2013 (Count Two). The Defendant asks [Docs. 79 and 90] the Court to suppress all evidence

    seized during the September 14, 2014 seizure and frisk of his person because the frisk and

    seizure of cash concealed in his pocket violated his rights under the Fourth Amendment. He

    argues that the officer did not have specific and articulable facts that he was armed and

    dangerous to permit the warrantless Terry frisk of his person. He also contends that the

    officer improperly seized the cash detected in his pocket during the frisk because the officer

    could not have immediately recognized it as contraband.

               The Government responds [Doc. 82] that the officer had reasonable suspicion that

    the Defendant was armed and dangerous based upon the totality of the circumstances of the

    stop, including the information that the Defendant had given the driver drugs to hold. The

    Government also maintains that the officer properly seized cash from the Defendant’s pocket

    under the plain feel doctrine, because the officer immediately recognized it as contraband

    during the frisk.



                          II.    SUMMARY OF THE TESTIMONY

               The Government presented the testimony of Knoxville Police Department (KPD)

 Officer Robert Cook, who testified as follows:




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                  On the morning of September 14, 2013, Officer Cook was on patrol in the area of

 Interstate 40 (I-40) and Kingston Pike. [Tr.2 at 4] As he pulled up to a traffic light, he passed a

 car stopped at the light and saw that the front passenger was not wearing a seatbelt. [Tr. at 4, 16]

 At the hearing, Officer Cook identified the Defendant as the individual whom he had observed as

 the passenger. [Tr. at 6] On the day of the stop, Officer Cook noted the license tag number as

 the car drove past him and ran the tag number on his in-car computer. [Tr. at 4, 16] He learned

 that the car was registered to Katie Miller. [Tr. at 6] A further records check revealed that

 Miller had an outstanding arrest warrant. [Tr. at 4, 6] Officer Cook caught up to the car, which

 by now was on I-40, and initiated a traffic stop. [Tr. at 5, 18] He approached the female driver

 and asked for identification. [Tr. at 5, 6] She provided a driver’s license, which revealed that

 she was Katie Miller. [Tr. at 6] Officer Cook returned to his car and verified with the KPD

 records department that there was a valid arrest warrant for Miller. [Tr. at 6] At this point,

 Officer Cook requested that a second officer report to the scene to insure his safety while making

 a felony arrest. [Tr. at 10]

                  Officer Cook returned to the driver’s side of the car, told Miller to get out of the

 car, and directed her to the front of his police car. [Tr. at 7] There, he told Miller that he was

 arresting her on an outstanding warrant and handcuffed her. [Tr. at 7] He asked Miller if she

 had anything illegal on her person, to which she replied that the Defendant had stuffed something

 down her pants. [Tr. at 7, 19] Officer Cook asked what it was, and Miller said it was heroin.

 [Tr. at 7, 19] Officer Cook did not attempt to retrieve the heroin from Miller but, instead, placed

 Miller in the back of his cruiser and radioed for a female officer to report to the scene to search

 Miller. [Tr. at 8, 10-11]



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     The transcript [Doc. 88] of the August 28 suppression hearing was filed on September 2, 2014.

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                Once Miller was detained in the back of his cruiser, Officer Cook went to the

 passenger side of Miller’s car and asked the Defendant for identification. [Tr. at 8] Officer

 Cook testified that the Defendant seemed very nervous and told Cook that he did not have his

 identification with him. [Tr. at 8] The Defendant identified himself as J. Davis. [Tr. at 7, 20]

 Officer Cook asked for his social security number, which the Defendant fumbled twice in giving.

 [Tr. at 8] Officer Cook said that the Defendant continued to appear to be looking for his

 identification, even after stating that he had none. [Tr. at 21] Officer Cook stated that he

 believed that he had probable cause to arrest the Defendant based upon Miller’s statement that he

 gave her heroin. [Tr. at 8-9] He said that in his experience drugs and guns are commonly found

 together. [Tr. at 9]

                Officer Cook stated that he asked the Defendant to step out of the car as Officer

 Gerlach arrived on the scene. [Tr. at 11] After the Defendant got out of the car and while

 Officer Gerlach was standing at the car’s rear bumper, Officer Cook patted down the Defendant.

 [Tr. at 12]   Officer Cook felt what he recognized as a substantial amount of cash in the

 Defendant’s pocket but did not remove the cash. [Tr. at 12] He then handcuffed the Defendant

 and placed him in the back of Officer Gerlach’s cruiser. [Tr. at 12-13] He did not tell the

 Defendant that he was under arrest at that time, but he believed the Defendant to be under arrest

 for heroin distribution and giving a false name. [Tr. at 13-14] The female officer arrived a few

 minutes after the Defendant was placed in the cruiser. [Tr. at 14] She searched Miller and found

 heroin on her person. [Tr. at 14-15]

                Officer Cook testified that a K-9 officer arrived on the scene, and his dog alerted

 on Miller’s car, which was then searched. [Tr. at 14-15] After the search of the car, Officer

 Cook searched the Defendant incident to his arrest and removed $3,063 from the Defendant’s



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 pocket. [Tr. at 12, 15] The currency consisted mostly of twenty dollar bills with a few one-

 hundred dollar bills. [Tr. at 15]

                On cross-examination, Officer Cook testified that after first spotting Miller’s car,

 he stopped at the red light with Miller’s car behind him in the turn lane. [Tr. at 16] He said that

 if Miller’s car windows were not tinted so dark that the tint blocked his view of the Defendant.

 [Tr. at 16] When the light turned green, he waited for Miller to pass him so that he could get the

 license tag number. [Tr. at 17] After he stopped Miller’s car on the interstate, the Defendant had

 his seatbelt buckled. [Tr. at 18] Officer Miller stated that approximately five minutes passed

 between stopping the car and placing Miller in his cruiser. [Tr. at 20] Officer Cook agreed that

 he had not confirmed that Miller had heroin on her person when he put her in his police car and

 stated that he did not ask her how much heroin she had. [Tr. at 20, 26] He acknowledged that he

 had not observed any unusual behavior from the Defendant up to that point. [Tr. at 20] Officer

 Cook said that when the Defendant said his name was J. Davis, Officer Cook did not believe him

 due to his actions. [Tr. at 20] The Defendant was acting nervous and continued to look for

 identification after telling Officer Cook he did not have any. [Tr. at 21]

                Officer Cook stated that when he asked the Defendant to get out of the car, he had

 already decided to arrest him. [Tr. at 21] Officer Cook said he frisked the Defendant for his

 own safety. [Tr. at 21-22] The Defendant was wearing loose shorts that hung down to his knees.

 [Tr. at 23-24] When Officer Cook felt the cash in the Defendant’s pocket, he believed it was

 related to the sale of heroin. [Tr. at 22] Officer Cook agreed that nine minutes and thirty seconds

 elapsed between him stopping Miller’s car and him taking the Defendant into custody. [Tr. at

 24] He did not remember whether, when he later removed the cash, it was in three stacks or in

 separate locations on the Defendant’s person. [Tr. at 25]



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                Officer Cook testified that he completed an arrest warrant for the Defendant that

 day, stating he had arrested the Defendant for the sale of heroin. [Tr. at 22] The warrant did not

 mention that the Defendant gave a false name. [Tr. at 23] Officer Cook stated that as probable

 cause for the arrest warrant, he listed that the Defendant was nervous, that Miller had said that he

 put heroin on her, and that he found cash on the Defendant. [Tr. at 22-23]



                                   III.    FINDINGS OF FACT

                The Court makes the following factual findings:

                KPS Officer Robert Cook was on patrol on the morning of September 14, 2013,

 when he observed the Defendant was not wearing a seatbelt while he was a passenger in a car

 with a female driver. Officer Cook took down the license tag number of the car and ran the tag

 number on his in-car computer, learning that the car was registered to Katie Miller. A further

 records check revealed that Miller had an outstanding arrest warrant. Officer Cook caught up

 with Miller’s car on I-40 and conducted a traffic stop. When he approached the driver to ask for

 identification, he saw that the Defendant was now wearing his seatbelt. Officer Cook obtained

 the driver’s license, which identified her as Katie Miller. He then confirmed with the KPD

 records department that Miller had an outstanding arrest warrant. At that time, Officer Cook

 requested that a second officer report to the scene.

                Officer Cook asked Miller to get out of her car and to come to the front of his

 cruiser. He told her that he was arresting her on an outstanding warrant, handcuffed her, and

 asked whether she had anything illegal on her person.          Miller told Officer Cook that the

 Defendant had stuffed something down her pants. Officer Cook asked what it was, and Miller




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 told him it was heroin. Officer Cook then placed Miller in the back of his cruiser without

 searching her person and radioed for a female officer to report to the scene.

                With Miller secured in the back of his police car, Officer Miller went to the

 passenger side of Miller’s car to question the Defendant. He asked for identification, but the

 Defendant, who appeared to be very nervous, said that he did not have identification with him.

 The Defendant identified himself as J. Davis. Although he purported to have no identification,

 the Defendant continued to rummage around the front of Miller’s car, as if still looking for his

 identification. The Defendant also twice stumbled over the social security number he gave the

 officer. Officer Cook, who suspected that the Defendant had given a false name due to the way

 the Defendant was acting, asked the Defendant to step out of the car. Officer Gerlach arrived

 and reported to the rear bumper of Miller’s car. Officer Cook frisked the Defendant and felt

 what he believed was a large wad of cash in the pocket of the Defendant’s shorts. He did not

 remove the cash at that time but, instead, handcuffed the Defendant and placed him in the back

 of Officer Gerlach’s cruiser. A few minutes later, a female officer arrived, searched Miller, and

 found heroin on her person.

                A K-9 officer arrived on the scene and swept Miller’s car with his drug detection

 dog. The dog alerted on the car, which was searched. After the search of the car, Officer Cook

 searched the Defendant incident to his arrest and removed $3,063 in mostly twenty dollar bills

 from the Defendant’s pocket.



                                        IV.     ANALYSIS

                The Fourth Amendment protects citizens against unreasonable searches or

 seizures. U.S. Const. amend IV. The Defendant does not challenge the propriety of the stop of



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 Katie Miller’s car on September 14, 2013, and the Court finds that Officer Cook had probable

 cause to stop the car for a traffic violation because he observed the Defendant was not wearing a

 seatbelt while a passenger in that vehicle. See Tenn. Code Ann. § 55-9-603 (providing that

 drivers and front seat passengers must wear a seatbelt at all times that the vehicle is moving

 forward); see also United States v. Street, 614 F.3d 228, 232 (6th Cir. 2010) (holding that

 officers witnessing a seatbelt violation may properly stop the car). The Court also finds that

 Officer Cook had probable cause to arrest the driver, Katie Miller, after confirming her identity,

 because she had an outstanding warrant for her arrest.

                The constitutional questions at issue in this case arise after Miller’s arrest and

 once she has been secured in Officer Cook’s police car. The Court finds that Officer Cook

 properly asked the Defendant for identification and to step out of Miller’s car. “[A]n officer

 does not violate the Fourth Amendment during a traffic stop by asking for passenger

 identification, even where there was no reasonable suspicion of any wrongdoing by the

 passengers.” United States v. Alexander, 467 F. App’x 355, 362 (6th Cir.), cert. denied, 132 S.

 Ct. 2417 (2012). “In the course of a stop premised on a traffic violation, police may instruct the

 driver or occupant to exit the vehicle.” Id. (citing Pennsylvania v. Mimms, 434 U.S. 106, 111

 (1977)). The Defendant challenges what came next, the pat down of his person, arguing that (1)

 the officer did not have reasonable suspicion to conduct a Terry frisk and (2) the officer

 improperly seized currency from his pocket because the officer could not immediately identify it

 as contraband by touch. The Court will examine each of these issues in turn.




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                                 A. Frisk of the Defendant’s Person

                Once the Defendant stepped out of Miller’s car, Officer Cook had him place his

 hands on the roof of the car and frisked him. The Defendant argues that the officer lacked

 reasonable suspicion, based on specific and articulable facts that he was armed and dangerous, to

 permit a lawful Terry frisk. An officer may frisk a suspect for weapons in order to assure the

 officer’s safety if a reasonable officer under those circumstances would be justified in believing

 the suspect was “armed and dangerous.” Terry v. Ohio, 392 U.S. 1, 27 (1968); United States v.

 Smith, 594 F.3d 530, 542 (6th Cir. 2010).        “[A] frisk for weapons is justified only where

 specific and articulable facts give a policeman reasonable grounds to believe that an individual is

 armed and dangerous.” United States v. Bell, 762 F.2d 495, 497 (6th Cir. 1985). “The officer

 need not be absolutely certain that the individual is armed; the issue is whether a reasonably

 prudent man in the circumstances would be warranted in the belief that his safety or that of

 others was in danger.” Terry, 392 U.S. at 27. The presence of specific and articulable facts is

 determined by examining the totality of the circumstances. Bell, 762 F.3d at 499.

                The Defendant contends that at the time he was frisked, Officer Cook knew only

 that the Defendant was nervous and that Miller, a suspected felon, had accused him of placing

 heroin in her pants.    He argues that nervousness itself, even extreme nervousness, is not

 sufficient to provide reasonable suspicion to frisk him. See United States v. Wilson, 506 F.3d

 488, 496 (6th Cir. 2007).     He contends that Officer Cook reported that his behavior was

 otherwise not unusual and points out that Office Cook allowed him to remain seated in the car

 for a period of time while he spoke with and detained Miller. The Defendant observes that by

 the time Officer Cook asked him to step out of the car, Officer Gerlach had arrived on the scene,

 thereby lessening any concern for officer safety. Finally, the Defendant argues that Miller’s



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statement that he gave her drugs was uncorroborated at the time of the frisk and, thus, did not

serve to connect him with drug activity such that Officer Cook would believe he was armed due

to the officer’s experience that drugs and guns often go hand in hand.

               The Government responds that Officer Cook had reasonable suspicion that the

Defendant could be armed and dangerous based upon information that drugs were in Miller’s

car. It states that Miller told Officer Cook that she had heroin concealed in her pants. The

Government argues that based upon this information from Miller, Officer Cook had a reasonable

suspicion that illegal drug activity was afoot and could reasonably infer (based upon his training

and experience) that the Defendant was armed and dangerous. The Government maintains that

the Defendant’s nervousness and failure to produce valid identification served to enhance Officer

Cook’s suspicion that the Defendant could be armed.

               The Court finds that Officer Cook knew the following specific and articulable

facts at the time he frisked the Defendant: (1) Miller had accused the Defendant of hiding heroin

in her pants, (2) the Defendant seemed unusually nervous as evidenced by his continuing to look

for identification after telling Officer Cook he had none, (3) Officer Cook suspected that the

Defendant had given a false name based upon the way he was acting in the car, (4) the Defendant

stumbled twice in providing his Social Security number, and (5) based upon his law enforcement

experience, Officer Cook knew that guns are often associated with drug activity.

               The Government appears to be arguing that once an officer suspects a drug crime

is afoot, he or she may automatically frisk those associated with the location of the drug

trafficking. In support of this argument, it cites to United States v. Vite-Espinoza, 342 F.3d 462

(6th Cir. 2003), in which our appellate court upheld the frisk of two Hispanic men loitering in the

back yard of a house at which law enforcement were executing a search warrant to search for



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marijuana and counterfeit documents. The Government’s interpretation of Vite-Espinoza sweeps

too far. In Vite-Espinoza, the Court relied heavily on the fact that the officers were at the house

to execute a search warrant and were entitled to detain the occupants of the house in order to

protect the executing officers, preserve and control the scene, and prevent flight. 342 F.3d at 468

(citing Summers v. Michigan, 452 U.S. 652 (1981)). In Michigan v. Summers, the Supreme

Court held that officers executing a search warrant to search for contraband may categorically

detain the occupants of the location to be searched because such detention is minimally intrusive

and serves to preserve officer safety, “prevent[] flight in the event that incriminating evidence is

found,” and effectuate the orderly execution of the search warrant. 452 U.S. 692, 703-05 (1981).

The Court of Appeals in Vite-Espinoza held that the policies behind Summers and related cases

along with two other suspicious circumstances (that the men were Hispanic and that they had no

apparent purpose in loitering behind the house) permitted the officers to detain and frisk the

defendants. Vite-Espinoza, 342 F.3d at 468.          The Court questions the precedential value of

Vite-Espinoza outside the context of the execution of a search warrant.

               Moreover, our appellate court has expressly rejected the argument that the

occupant of a vehicle linked to drug trafficking can be frisked solely because of his or her

location in the car: “[A] person’s mere presence in a car, which the police believe is connected

to drug trafficking, is not an automatic green light for frisking that person.” United States v.

Noble, 762 F.3d 509, 523 (6th Cir. 2014). “The Supreme Court has made clear that an officer

must have specific, articulable reasons to believe that a particular person is armed and

dangerous before the officer may frisk a suspect.” Id. (emphasis added). The appellate court

observed that the passenger in Noble took no action that caused the officer to find him

threatening and that the officer had “no specific fact that link[ed the passenger] to the drug



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trafficking operation beyond the [vehicle].” Id. at 524. But, c.f., United States v. Heath, 259

F.3d 522, 530 (6th Cir. 2001) (holding that an officer with a reasonable suspicion that a suspect

is carrying drugs may rely on training and experience to frisk that person).

               Nevertheless, information that the passenger is located in a car connected with

drug trafficking or a drug trafficker can, along with other information known to the officer,

contribute to a reasonable suspicion that the passenger is armed and dangerous. See Bell, 762

F.2d at 502 (finding officer had reasonable suspicion to frisk passenger due in part to driver

being known to be armed and dangerous). Here, Officer Cook had information, not only that

Defendant was a passenger in a car that had contained heroin (or which had contained a person

who had heroin) but also, according to Miller, that the Defendant at one point had control over

the heroin and that the Defendant had hidden the heroin on Miller’s person. Officer Cook then

proceeded to question the Defendant. The Defendant’s actions and statements raised further

suspicion about the Defendant. First, the Court finds that the video footage reveals that prior to

Officer Gerlach’s arrival, Officer Cook led the Defendant to believe that he would be permitted

to leave the scene in Miller’s car. Despite this belief, the Defendant was unusually nervous.

Moreover, Officer Cook believed that the Defendant had given a false name based upon the

Defendant’s nervous actions inside the car and his stumbling over his Social Security number.

The Court finds that the totality of these circumstances: Miller’s accusation that the Defendant

had hidden heroin on her, the Defendant’s unusual nervousness, and the Defendant’s attempt to

mislead Officer Cook about his identity along with Officer Cook’s experience about those

involved in drug trafficking being armed—provided specific and articulable facts to cause

Officer Cook to believe the Defendant was armed and dangerous.




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               The Defendant argues that Miller’s statement that the Defendant hid heroin on her

person cannot contribute to Officer Cook’s reasonable suspicion because Miller had just been

arrested on a preexisting arrest warrant for a felony3 and her statement about the Defendant was

uncorroborated. In Noble, our appellate court held that an officer cannot rely solely upon his or

her training and experience that persons involved in drug trafficking are generally armed in order

to conduct a Terry pat down during a traffic stop. 762 F.3d at 524. Instead, the court observed

that it had “always required some corroboration that particular individuals are involved in

dealing drugs before allowing a frisk for weapons.” Id. The Court finds that the corroboration

that the court required in Noble was corroboration that a particular person is involved in drug

trafficking before the officer may rely upon his or her experience that drug traffickers are

frequently armed. In this case, Miller’s statement about the Defendant hiding heroin in her pants

is information that shows his involvement beyond his mere presence in a car in which drugs were

located.

               The Defendant also faults Officer Cook for failing to confirm that Miller had

heroin on her person before frisking him. However, the Court notes that frisking Miller would

have confirmed only the existence of the heroin, not from whence it came. Miller made a

statement against her own interest in admitting that she had heroin in her pants. Accordingly, the

Court finds that Miller’s statement could contribute to Officer Cook’s suspicions about the

Defendant’s dangerousness, although he had no information about her reliability.

       In United States v. Bearden, the court relied upon the uncorroborated statement of a

confederate that persons working at a tire business were armed to contribute to an officer’s
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 Although the Defendant argues in his brief that Miller’s arrest warrant was for theft, Officer
Cook did not testify about the crime giving rise to the arrest warrant, nor did the parties produce
a copy of the arrest warrant at the suppression hearing. The Court notes that although the audio
on the DVD from Officer Cook’s in-car camera is poor, during the stop, Officer Cook tells
Miller that she has been arrested on an outstanding warrant for theft.

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reasonable suspicion to frisk. 213 F. App’x 410, 412 (6th Cir. 2007). The owner of the tire

business was arrested for drug trafficking and consented to a search of the premises. Id. at 411.

The officers searching the business knew a confidential informant had recorded the owner saying

that his employees were armed. Id. The officers saw Bearden, a customer, standing in the work

bay and, mistaking him for an employee, they frisked him. Id. “Because it was reasonable for

law enforcement officers to believe that employees were armed based on the information

provided by the owner of North Tire and because it was reasonable for the officers to assume

Bearden was an employee, the pat down search revealing the weapon was reasonable.” Id. at

415.4 Likewise, the Court finds that Miller’s statement that the heroin was from the Defendant

could contribute to Officer Cook’s reasonable suspicion to frisk the Defendant.

       Finally, even if the frisk of the Defendant violated the Fourth Amendment, Officer Cook

did not seize any items from the Defendant’s person as a result of the frisk. The currency in

question was seized in a subsequent search of the Defendant incident to his arrest, following a

drug detection dog’s alert on the car. Accordingly, as discussed fully below, the Court finds that

Officer Cook would have inevitably discovered and seized the currency, even if the frisk of the

Defendant was improper.



                        B. Seizure of Currency from Defendant’s Pocket

               The Defendant also argues that Officer Cook improperly seized the currency from

his pocket because the currency was not immediately recognizable as contraband or an

instrument of assault during the frisk. The Government responds that after learning from Miller


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 The Court of Appeals also found that Bearden was properly detained pursuant to the reasoning
in Summers regarding securing persons on a premises to be searched pursuant to a search
warrant. However, the Court applied the Terry reasonable suspicion standard to the frisk of
Bearden.

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that the Defendant had concealed heroin on her person, Officer Cook immediately recognized

that the large amount of cash in the Defendant’s pocket was contraband. Alternatively, the

Government argues that law enforcement would have inevitably discovered and seized the

currency when they subsequently searched the Defendant incident to his arrest. The Defendant

contests the inevitable discovery of the currency, arguing that because Officer Cook could not

legitimately recognize the currency as contraband, Officer Cook had no basis to connect him

with the drugs on Miller and the paraphernalia in Miller’s car in order to arrest him. He contends

that if Officer Cook lacked probable cause to arrest him, then any fruits of the search of his

person incident to his arrest must be suppressed.

               An officer conducting a Terry pat down may seize items that he discovers through

the sense of touch if the shape or weight of the object causes its incriminating nature to be

immediately apparent to the officer.      Minnesota v. Dickerson, 508 U.S. 366, 376 (1993)

(extending the plain view doctrine to items discovered through touch). In determining whether

the incriminating nature of the item is “immediately apparent,” the Court examines three factors:

               “(1) a nexus between the seized object and the [suspected criminal
               activity]; (2) whether the intrinsic nature or appearance of the
               seized object gives probable cause to believe that it is associated
               with criminal activity; and (3) whether the executing officers can at
               the time of discovery of the object on the facts then available to
               them determine probable cause of the object’s incriminating
               nature.”

United States v. Chandler, 437 F. App’x 420, 427 (6th Cir. 2011) (quoting United States v.

Garcia, 496 F.3d 495, 510 (6th Cir. 2007) (applying these factors in the context of the plain view

exception to the warrant requirement). The absence of any of these factors is not fatal to a

finding of plain touch. Id.




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               In the present case, the Court finds that upon frisking the Defendant, who was

wearing loose shorts, Officer Cook felt what he recognized from the feel of the object to be a

large amount of cash. The Defendant argues that Officer Cook had no way to know whether the

currency in his pocket was fifty one-dollar bills, which would be consistent with spending

money, or a large number of larger bills. Moreover, the Defendant contends that without

confirming that Miller actually had heroin on her person, Officer Cook had no basis to believe at

the time of the frisk that the cash in his pocket was from drug sales.

               Officer Cook’s testimony at the suppression hearing dispels the Defendant’s

arguments. First, Officer Cook testified that when he frisked the Defendant, “[i]t was clear that

he had a substantial amount of cash in his pocket.” [Tr. at 12] On cross-examination, he agreed

that “when he grabbed on the wad of cash[, he] knew it was cash” by the way it felt. [Tr. at 22]

The officer stated that when the cash was later seized and counted, the amount was $3,063 in

denominations of a few one hundred dollar bills and mostly twenty dollar bills. [Tr. at 15] Even

if the Defendant had ten one hundred dollar bills, the remaining $2,063 in twenty dollar bills

would have the defendant possessing a stack of 116 bills (10 hundreds, 103 twenties, and three

ones), a stack that would be twice as thick as fifty one dollar bills. Although possession of a

large amount of currency is not automatically incriminating, Miller’s statement provides a nexus

between the large stack of cash and suspected criminal activity. Additionally, “no additional

investigation was needed to establish the likely connection between the currency and the

suspected narcotics transaction.” Chandler, 437 F. App’x at 428 (holding the incriminating

nature of a large amount of currency was immediately apparent when police had reasonable

suspicion that defendant had recently participated in illegal drug transaction). Accordingly, the




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Court finds that Officer Cook could have properly seized the currency in the Defendant’s pocket

pursuant to the plain touch doctrine. However, Officer Cook did not seize the cash at that time.

               Officer Cook seized the cash from the Defendant following a drug detection dog’s

alert on the car. Based upon the drug dog’s alert, Officer Cook had probable cause to believe

that the car contained illegal drugs. United States v. Navarro-Camacho, 186 F.3d 701, 706 (6th

Cir. 1998) (holding that a “positive indication by a properly-trained dog is sufficient to establish

probable cause for the presence of a controlled substance”). The Defendant contends that

Officer Cook had no basis to suspect any drugs in the car were his because the car belonged to

Miller and the heroin was found on Miller’s person. However, Miller had already implicated the

Defendant in the heroin on her person, and as a passenger in Miller’s car, the Defendant had

access to the contraband5 contained therein. See Maryland v. Pringle, 540 U.S. 366, 372 (2003)

(holding in the absence of any of the car’s occupants providing information as to the ownership

of cocaine, that officer had probable cause to arrest defendant who was passenger in car

containing $763 in glove compartment and cocaine behind the back-seat armrest that was

“accessible” to all three occupants). Thus, the Court finds that Officer Cook had probable cause

to arrest the Defendant, even without considering the large amount of currency in his pocket.

               Officer Cook validly seized the currency from the Defendant in a search of his

person incident to his arrest. See United States v. Robinson, 414 U.S. 218, 235 (1973) (holding

that an arresting officer may lawfully conduct a full search of the arrestee’s person incident to a


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 Officer Cook did not testify about any contraband seized from the car. The Government’s brief
states that “[b]ehind the passenger seat, officers located a Food City bag containing between 300
and 400 empty gel caps and a set of digital scales.” [Doc. 82, p.2] The Defendant’s
supplemental brief states that “the scales and gel-caps were in [Miller’s] car.” [Doc. 90, p. 9]
Although this evidence is not before the Court, if it were, the Court finds that it would give
further support to the Court’s finding that Officer Cook had probable cause to arrest the
Defendant for drug trafficking, because the paraphernalia was located behind the passenger’s
seat and accessible to the Defendant as well as Miller.

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lawful arrest). Thus, the Court finds that the currency found on the Defendant’s person in his

shorts pocket would have been inevitably discovered in a search incident to his arrest for drug

trafficking.   See Nix v. Williams, 467 U.S. 431, 444-46 (1984) (declining to apply the

exclusionary rule to evidence that would have been inevitably and lawfully gained had the

government misconduct not occurred).



                                    V.      CONCLUSION

               After carefully considering the parties’ arguments and the relevant legal

authorities, the Court finds no basis to suppress the evidence resulting from the frisk of the

Defendant. For the reasons set forth herein, the Court RECOMMENDS that Defendant’s

Motion to Suppress Evidence [Doc. 79] be DENIED.6

                                                 Respectfully submitted,


                                             United States Magistrate Judge




6
 Any objections to this report and recommendation must be served and filed within fourteen (14)
days after service of a copy of this recommended disposition on the objecting party. Fed. R.
Crim. P. 59(b)(2) (as amended). Failure to file objections within the time specified waives the
right to review by the District Court. Fed. R. Crim. P. 59(b)(2); see United States v. Branch, 537
F.3d 582, 587 (6th. Cir. 2008); see also Thomas v. Arn, 474 U.S. 140, 155 (1985) (providing that
failure to file objections in compliance with the required time period waives the right to appeal
the District Court’s order). The District Court need not provide de novo review where objections
to this report and recommendation are frivolous, conclusive, or general. Mira v. Marshall, 806
F.2d 636, 637 (6th Cir. 1986). Only specific objections are reserved for appellate review. Smith
v. Detroit Federation of Teachers, 829 F.2d 1370, 1373 (6th Cir. 1987).

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